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                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA                                  CASE NUMBER 20CR1684-LAB

                                vs                                ABSTRACT OF ORDER

       MANUEL RODRIGUES-BARIOS                                    Booking No. 85183298


TO THE UNITED STATES MARSHAL AND / OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
           Be advised that under date of       6/15/21
the Court entered the following order:


                         Defendant be release from custody.

                         Defendant placed on supervised / unsupervised probation / supervised release.

                         Defendant continued on supervised / unsupervised probation / supervised release.

                         Defendant released on                                                     Bond posted.

                         Defendant appeared in Court. FINGERPRINT & RELEASE.

                         Defendant remanded and (                bond ) (             bond on appeal ) exonerated.

                         Defendant sentenced to TIME SERVED, supervised release for                     years.

                         Bench Warrant Recalled.

                         Defendant forfeited collateral.

                         Case dismissed.

                          Charges pending in case no. 19CR2118-LAB

                         Defendant to be release to Pretrial Services for electronic monitoring.

                         Other. PROBATION 5 YEARS




                                                                      LARRY ALAN BURNS
                                                                        UNITED STATES DISTRICTJUDGE
                      6/15/21                                                             OR
                 (OHFWURQLFDOO\6HQWWR8606                    JOHN MORRILL, Clerk of Court
                                                                by T. Weisbeck, EXT. 6038



Crim-9 (Rev. )
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From:             Scott, Andrea (USMS) <> on behalf of CAS Releases <>

To:               T. Weisbeck
Sent:             Tuesday, June 15, 2021 1:32 PM
Subject:          Read: abstract 20cr1684-LAB


Your message

 To: CAS Releases
 Subject: abstract 20cr1684-LAB
 Sent: Tuesday, June 15, 2021 1:29:21 PM (UTC-08:00) Pacific Time (US & Canada)

was read on Tuesday, June 15, 2021 1:27:44 PM (UTC-08:00) Pacific Time (US & Canada).




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